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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed March 28, 2019
______________________________________________________________________


                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

         In re:                                § Case No. 18-33678
                                               §
         TACO BUENO RESTAURANTS, INC.,         § (Chapter 11)
         et al.,                               §
                                            1
                                               § (Jointly Administered)
                       Reorganized Debtors.    §
                                               §
                               ORDER GRANTING THE FINAL FEE
                      APPLICATION OF VINSON & ELKINS L.L.P., COUNSEL
                   FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
                 PERIOD FROM NOVEMBER 6, 2018 THROUGH DECEMBER 31, 2018


              Upon the Final Fee Application of Vinson & Elkins L.L.P., Counsel for the Debtors and

     Debtors in Possession, for the Period From November 6, 2018 Through December 31, 2018 (the




     1
              The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
              tax identification number, are as follows: CBI Restaurants, Inc. (3490); Taco Bueno Equipment Company
              (0677); Taco Bueno Franchise Company L.P. (2397); Taco Bueno Restaurants, Inc. (8214); Taco Bueno
              Restaurants L.P. (6189); Taco Bueno West, Inc. (6200); TB Corp. (8535); TB Holdings II, Inc. (7703); TB
              Holdings II Parent, Inc. (3347); and TB Kansas LLC (6158). The location of the Debtors’ corporate
              headquarters and the Debtors’ service address is: 300 East John Carpenter Freeway, Suite 800, Irving, Texas
              75062.
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“Final Fee Application”)2; and the Court having jurisdiction over the matters raised in the Final

Fee Application pursuant to 28 U.S.C. § 1334; and the Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent

with Article III of the United States Constitution; and the Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

the Court having found that proper and adequate notice of the Fee Application and hearing thereon

has been given and that no other or further notice is necessary; and the Court having found that

good and sufficient cause exists for the granting of the relief requested in the Fee Application after

having given due deliberation upon the Fee Application and all of the proceedings had before the

Court in connection with the Motion, it is HEREBY ORDERED THAT:

         1.      Compensation of fees to V&E for professional and paraprofessional services

rendered during the Fee Period is allowed on a final basis in the amount of $1,680,106.80.

         2.      Compensation of fees to V&E for professional services rendered in preparation of

the Final Fee Application is allowed on a final basis in the amount of $10,000.00.

         3.      Reimbursement to V&E for expenses incurred during the Fee Period is allowed on

a final basis in the amount of $53,284.37.

         4.      The Reorganized Debtors are authorized and directed to pay V&E all unpaid fees

and expenses allowed pursuant to this Order within three business days of entry of this Order.

                                        # # # END OF ORDER # # #




2
         Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Final Fee
         Application.


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